     Case 2:19-cv-00673-RFB-DJA Document 58 Filed 11/09/20 Page 1 of 3




 1

 2
                                  UNITED STATES DISTRICT COURT
 3
                                           DISTRICT OF NEVADA
 4
                                                      ***
 5
      KENNETH HEARD, JR.,                                    Case No. 2:19-cv-00673-RFB-DJA
 6
                              Plaintiff,
 7                                                           ORDER
            v.
 8
      COSTCO WHOLESALE CORPORATION,
 9    ET AL.,
10                            Defendants.
11

12          This matter is before the Court on Defendants’ Motion to Compel (ECF No. 55), filed on

13   October 22, 2020. Any response was due by November 5, 2020. No response has been filed to

14   date and Defendants filed a Notice of Plaintiff’s Non-Opposition (ECF No. 57) on November 6,

15   2020. Plaintiff’s failure to file points and authorities in response to the motion “constitutes a

16   consent to the granting of the motion.” LR 7-2(d).

17          Moreover, the Court finds good cause to grant the motion to compel. First, as to

18   Defendants' request for dates for Plaintiff’s deposition, the Court finds that request to be relevant

19   and proportional to the needs of the case. Defendants are entitled under the rules to depose

20   Plaintiff and Plaintiff’s failure to communicate with defense counsel in order to schedule his

21   deposition is not excused as he is required to participate in this case if he intends to continue to

22   prosecute it. As a result, Plaintiff must respond to defense counsel within 2 weeks of this order to

23   provide Defendants with three dates/times in which he is available for his deposition. Defendants

24   will still be required to duly notice the deposition.

25          As to the requested Rule 35 mental examination, the Court finds it to be relevant and

26   proportional to the needs of the case. Plaintiff alleges various mental health conditions along

27   with severe emotional distress. Defendants seek a 3 hour oral examination by Dr. Greene and

28   two hours of psychological testing near Henderson, where Plaintiff resides. The Court will
     Case 2:19-cv-00673-RFB-DJA Document 58 Filed 11/09/20 Page 2 of 3




 1   permit such a request to proceed and compel Plaintiff to respond to defense counsel within 2

 2   weeks of this order to provide Defendants with three dates/times in which he is available for the

 3   Rule 35 examination. Defendants will still be required to duly notice the Rule 35 examination.

 4          As for the requested authorizations, Defendants have shown that they have been unable to

 5   receive the Rule 45 discovery due to the non-parties refusal to provide medical records without

 6   authorization. The Court finds the medical records from Spring Mountain Treatment Center,

 7   Sunrise Hospital, and St. Rose Dominican to be relevant and proportional to the needs of this

 8   case. It will order Plaintiff to execute the authorizations provided by defense counsel as Exhibit

 9   B within two weeks for the necessary release of the relevant records.

10          As for Defendants’ request for attorneys fees for having to bring the motion, given that

11   Defendants succeeded in full, the Court will grant them the opportunity to seek fees. It will set a

12   briefing schedule for this request. Defendants shall meet and confer with Plaintiff in an attempt

13   to agree on an amount in good faith. To the extent an agreement cannot be reached, then

14   Defendants shall file their motion for attorneys’ fees within 14 days of this Order. Plaintiff shall

15   have 14 days to file a response. Defendants may file a reply 7 days thereafter.

16          Finally, Defendants seek to extend discovery due to Plaintiff’s failure to participate in

17   discovery (ECF No. 56), filed on October 26, 2020. They seek a 90 day extension of discovery in

18   order to complete the above-requested discovery, including Plaintiff’s deposition, obtaining his

19   medical records, and completing the Rule 35 examination of Plaintiff. The Court will grant this

20   extension as it is supported by good cause and Plaintiff has also failed to oppose this request.

21          IT IS THEREFORE ORDERED that Defendants’ Motion to Compel (ECF No. 55) is

22   granted as outlined above.

23          IT IS FURTHER ORDERED that Defendants shall meet and confer with Plaintiff

24   regarding the attorneys’ fees requested for prevailing on the motion to compel and file a motion

25   for attorneys fees within 14 days of this Order if an agreement cannot be reached. A response and

26   reply may be filed within the normal briefing schedule.

27          IT IS FURTHER ORDERED that Defendants’ Motion to Extend Discovery (ECF No. 56)

28   is granted.


                                                 Page 2 of 3
     Case 2:19-cv-00673-RFB-DJA Document 58 Filed 11/09/20 Page 3 of 3




 1        IT IS FURTHER ORDERED that the following dates shall govern discovery:

 2        Discovery cutoff           February 17, 2021

 3        Dispositive motions        March 19, 2021

 4        Joint pretrial order       April 15, 2021

 5

 6        DATED: November 9, 2020.

 7

 8
                                                      DANIEL J. ALBREGTS
 9                                                    UNITED STATES MAGISTRATE JUDGE
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28


                                          Page 3 of 3
